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l JUN 1 5 2006
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IN THE UNITED sTATES DISTRICT CoUR'r ' m grid
FoR THE NoRTHERN DISTRICT or GEoRGIA
ATLANTA orvisloN
, LFNITI~:D sTATEs or AMERicA
v. - cRJMINAL AcrioN No.

7 1;04-CR-0424-Rws
wiLLIAM C. cAMPBE.LL,

Defendant.
SENTENQING QRDER
On May 10, 2006, the jury returned a verdict finding Defendant Wllliam
C. Campbell (“Defendant”) guilty of three counts of tax evasion, and acquitting

hlm on charges that he violated RICO and committed several acts of bribery. A

 

|; Presentence Investigation Report (“PSI") was prepared by the United States
Probation Oft`lce and submitted to the parties, and the parties filed Objections
thereto On .lune 13, 2006, the Court conducted a sentencing hearing at which
the Court heard additional evldence and arguments of counsel, ruled on the

t Objectlons to the PSI1 determined the applicable sentencing guideline range

' under the U S Sentencing Guldelines, and sentenced Defendant based upon a

consideration of the Sentencmg Guidel'mes as well as the factors set out in 18

‘ U s.C. § 3553. _

 

 

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ln the hearing. the Court briefly stated the bases for its rulings on the
' record. This Sentencing Order is issued to be filed simultaneously with the
Judgment and Coinmitment Order so as to fully set out the grounds for the
Court`s rulings as stated in the sentencing hearing.
NON-GUIDELINE OBJECTIONS

Defendant raised a number of Objections to matters within the PSI that
did not affect the Guidelines calculation As to those Objections, the Court
rules as follows:
(a) Paragraph 9 - The Objection is overruled The Court finds that the
?g description of offense conduct is merely background and is not inappropriate
(b) Paragrapl'i 12 - The Objl ection is overruled because the response provided
by the Probation Officer sufficiently clarifies the information provided in this
paragraph.
(c) iiaragraph 13 ~ The Objection is overruled because the jury found that
_, Defendant was guilty of Rac-keteering Act 10.
(d) Paragraph l4 - The Obj ection is overruled because the information
contained within the paragraph is not irrelevant.

(e) Paragraph 19 - The Ob_]ection is overruled because the additional

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information provided in the Objection as weil as the Probation Officer’s
response, sufficiently clarifies the paragraph.
(f) Paragraph 20 - The Objection to is sustained. Thc paragraph will be
' stricken from the PSI
(g) Paragraph 24 - The Objection is overruled because the information
contained within the paragraph is simply background information
(h] Paragraph 26 - The Objection is overruled because the information
contained within the paragraph is simply background information
(i) Paragraph 28 - The Ob] ection is sustained. The paragraph will be stricken
l from the PSI.
{j] Paragraphs 29-30 - The Objection is overruled These were statements
made by Defendant to the media and may be considered by the Court.

{k) Paragraphs 55-56 ~ The Objection is overruled because the information

contained within the paragraphs is not irrelevant

§§UIDELINE QBJEQTIONS

The Court places into seven ('7) categories the Objections of the parties

 

 

 

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l to the PSI concerning findings that affect the Guideline calculations As to

~ those Ob_iections, the Court rules as follows'.
L Taii Rate

The base offense level for crimes of tax evasion under the 1998 F ederal

Sentencing Guidelines is dependent upon the amount of “tax loss.“ U.S.

- Ss\irswci>io GuioELii~iEs MANUAL § 2T1.1(a) (1998).‘ According to the

7 Guidelines, ll‘the tax loss is the total amount of loss that was the object of the
offense (i e., the loss that would have resulted had the offense been
successfully completed).” U.S. SENTENCING GUIDELTNES MANUAL §
?.Tl l(c)(l) “[A]ll conduct violating the tax laws should be considered as part

of the same course of conduct or common scheme or plan unless the evidence

 

demonstrates that the conduct is clearly unrelated.” U.S. SENTENCING
GuiDELii\'Es MANUAL § 2Tt.1

In calculating the amount of tax loss, Defendant asserts that the Court
' should apply a tax rate of 28%, ignore his state tax llability, and provide him

the benefit of unclaimed deductions According to notes that accompany the

 

' All references to the Seniencing Guidelines shall be to the 1998 edition of the
U S Sentencing Guidelines Manual.

 

 

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1998 caldeiines, “ihe tax 1055 shaii be treated as equal m 23% afihe
unreported gross income . . . unfess a more accurate determination ofthe tax
foss can be made ” U.S. SEN rEt-'ClNG GU|DELINES MANUAL§ 2T1 1 (emphasis

l supplied). Here. Defendant`s own tax returns show that his applicable tax rate

for years 1994 through 2000 was 31%, and in 2001, was 30.5%. Because these

` figures represent a “more accurate” tax rate than the 28% default rate specified

in the 1998 Guidelines, the Court will apply these rates in calculating the

amount of tax loss. U.S. SENTENC[NG GuinELiNEs MANUAL § 2T1.1,
application note (A} In addition, the Court will increase the applicable tax

._ rates by 6% to take into account the impact of state taxes on the aggregate tax

loss M O C.G.A. § 48~7-20 (setting forth tax rate applicable to individual

taxpayers); United States v. Whistler, 139 Fed. Appx. l, 2 (9th Cir 2005)

(aggregating state and federal tax losses, and stating, “Nor did the district court

misapply the Guidelines in taking account of the filing of false state tax returns

as relevant conduct to determine Whistler’s Sentence.”); LJnited States v.

JMLQ, 66 Fed. Appx. 488, 490 (4th Cir 2003) (holding likewise); Qiite_d

States v Powell, 124 F.3d 655, 663-64 (Sth Cir. 1997} (holding likewise}. This

 

 

 

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results in an applicable tax rate of 37% for the years in question, except 2001,
for which the rate is 36.5%.

After reviewing applicable precedent, moreover, the Court concludes
that Defendant is not entitled to have the tax loss reduced by some unspecified
amount to reflect the availability of deductionsl Although it acknowledges that

the Second Circuit has adopted a contrary approach, s_e_e United States v.

Martinez-Rios, 143 F.3d 662 (Zd Cir. 1998), the majority view, and the one
z which finds consonance with the reasoning employed by the Eleventh Circuit, '

l is that unclaimed deductions should not be taken into account when

determining tax loss under the Guidelines. See United States v. Chavini 316

F 3d 666, 677 (7th Cir. 2002) (defendant was not entitled to recalculation of his

_ tax return to consider unclaimed deductions in determining tax loss); United

States v. Sp§ncer, 1?8 F.3d 1365, 1368 (lOth Cir. 1999) (“We do not interpret
[the Guidelines] as giving taxpayers a second opportunity to claim deductions
after having been convicted of tax fraud.”); United States v. Valentino, 19 F.3d

463, 465 (9th Cir 1994) (holding likewise); see also United States v. Patti, 33?

' F 3d 1317. 1324 (1 lth Cir 2003) (discuss`ing the permissible aggregation of

corporate and individual false reportings without the benefit of an overall tax

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loss reduction, and rejecting Martinez-Rios, held: “we do not believe that the
possibility of a lower tax liability had the taxes been reported properly should
change th[e] result”).

3_, Tax Loss

 

7 T he Court finds that the most reliable method for calculating the tax loss
i is based on cash expenditures and sources of cash as suggested in the PSI._ The
calculations of the tax loss are set out in Appendices A and B attached to this
Order and incorporated herein by reference.2

The Court finds by a preponderance of the evidence that for the years
1994 through 2000, the total unreported income is 8159,420.68 and for 2001,
the total unreported income is $10,380.12. Applying the 3?% rate to the 1994-

2000 unreported income yields a tax loss of $58,985.65 for those years

Applying the tax rate of 36.5% to the 2001 unreported income yields a tax loss

 

of $3,?88 74. Thus, the total tax loss equals $62,??4.39. Under the Sentencing
‘ Guidelines, this amount of tax loss results in a base offense level of thirteen
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` (13). U.S. SENTENCiNo GuioELii~:i=_s M,ANUAL § 2T4.1(H) (tax loss in excess of

$40,000 but less than $?0,000 requires application of offense level of 13).

 

2 The format for these calculations is taken from pages 26 and 27 of the PSI

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§_. More Than §111,000 from Criminal Activi;y

According to the Guidelines, “[i]f the defendant failed to report or to

z correctly identify the source of income exceeding $10,000 in any year from

 

criminal activity,`1 the C ourt should increase the offense level by two levels.

§ U S. Sei~crs>icn\'o Guii)ELiNss MANUAL§ zTi i(b)(i). ln the instant case, the
Court concludes that Defendant did receive more than $10,000 from criminal
activity in 1999 and therefore, increases the offense level as provided by §

, 2Ti.i(b)(i)

The Governrnent contends that an enhancement under § 2Tl . l(b](l) is
warranted on a variety of grounds Its principal argument is that Defendant’s
(ultimatelyt successful) defense to the RlCO and bribery charges at trial was
that the disparity between his lawful earnings and his cash expenditures during
? the years relevant to the indictment could be explained by his success at locally
hosted poker games-poker games in which he allegedly won approximately
$20,000 per ycar. ln addition, the Govemment urges the Court that it should
consider Defendant’s receipt of con'upt payments from Dan DeBardelaben, as
alleged in Counts II, III, and IV of the Indictment, as evidence supporting a §

2Tl . l (b)( l) enhancement.

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The Court finds the Government’s principal argument unavailing To be

‘ sure, gambling is a crime in Georgla,g§ 0 C.G.A § 16-12-21 (making it a

misdemeanor for an individual to “[p]lay[] and bet[ ] for money or other thing
of value at any game played with cards, dice, or balls”), and Defendant’s

receipt of more than 810,000 in any given year from poker games would

warrant imposition of the requested enhancement §;eg U.S. SENTENCiNG

GU|DELII\'ES MAN|JAL § 2Tl.l (defining criminal activity as “aiiy conduct

constituting a criminal ojj‘en.re under federal, srote, local, or foreign law”)

(emphases supplied) In support of its argument that Defendant received over

$10,000 in gambling winnings, the Government points to the trial testimony of

: Gabe Pascarella as well as statements by Defendant to the media during the

trial Moreover based upon unequivocal statements Defendant made to the
media during the trial, the Court might well be justified in finding that

Defendant received more than 310,000 in gambling winnings during a calendar

- year.

lrlowever, Defendant argues, persuasive ly, that the evidence adduced at
trial respecting his success at the poker tables was equivocal and ambiguous at

best, and that concrete assertions respecting his poker winnings primarily took

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the form of arguments from counsel. Without question, there was evidence that
Defendant enjoyed some gambling successes during the period iii question.
That evidence, moreover, may have engendered reasonable doubt in the minds

of thejury as to whether his undeclared income flowed from racketeering

= activities and the receipt of corrupt payments But, evidence sufficient to

generate reasonable doubt will not, in all instances, sustain a finding based on
the preponderance of the evidence. In the instant case, viewing all the evidence
presented at trial and during the sentencing hearing, the Court cannot find, by a
preponderance of the evidence, that Defendant received more than $10,000 in
any given year from unlawful gamblingl

This conclusion compels the Court to examine whether the
Government’s other asserted basis for an enhancement under § 2f1 .l(b)( l)

mandates the requested increase in offense level. After carefully considering

§ the matter, the Court is persuaded that a preponderance of the evidence elicited

at trial showed that Defendant obtained significantly more than 810,000 in
1999 in the form of corrupt payments from Dan DeBardelaben, as alleged in
Counts II and IlI of the Indictment. On the basis of this finding, an

enhancement under § 2T1,l(b)(l) is appropriate

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In reaching this result, the Court appreciates that the two level

enhancement it is imposing rests on conduct for which Defendant was

 

acquitted at trial The jury’s verdict showed that its members were not
convinced, beyond a reasonable doubt, that Defendant took the alleged
payments. The Court respects this verdict and thejurors by whom it was

rendered, and is entirely convinced that theirjudgment was the product of

careful. thoughtful, and deliberative application of the governing evidentiary
' standard to the facts presented at trial. The evidentiary standard applied here,
however, is very different
T he legal principles that guide this Court’s inquiry are well-settled:
“Relevant conduct of which a defendant was acquitted nonetheless may be
§ taken into account iri sentencing for the offense of conviction, as long as the
government proves the acquitted conduct relied upon by a preponderance of the

evidence.” United States v Barakat, 130 F.3d 1448, 1452 (llth Cir. 199'1')

 

(citing ilnited States v. Watts, 519 U.S. 148, 111Y S. Ct 633, 136 L. Ed. 2d 554
(1997)); §§ United States v. Kgcera, 167 Fed. Appx. 136, 138 (l lth Cir. 2006)

(under ]:)ost--E'»ooker3 advisory guidelines scheme, district court committed no

 

3 United Statesv Booker, 543 U.S 220, 125 S Ct 738, 160 L Ed 2d 621 (2005)

 

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error in relying on factual findings made by a preponderance of the evidence);
United States v. Tvnes, 160 Fed. Appx. 938, 940 (1 lth Cir. 2005) (even

following Booker, a “district _court may . . . continue to consider relevant

 

acquitted conduct when applying the guidelines in an advisory manner”)

7 (emphasis in original), see also United States v High Elk, 442 F.3d 622, 626

b (Bth Cir. 2006) (“for purposes of Calculating the advisory guidelines range, the

district court may find by apreponderance of the evidence facts regarding
conduct for which the defendant was acquitted”); United States v. Magallanez,
408 F.3d 672, 684 (lOth Cir 2005) (“Ajury verdict of acquittal on related
conduct does not prevent the sentencing court from considering conduct
underlying the acquitted charge, so long as that conduct has been proved by a
preponderance of the evidence.”) (mternal quotations omitted]; United States v.
R_eid, 357 F.3d 574, 581 n.8 (6th Cir 2004) (“[C]onduct which was the subject
of an indictment count of acquittal may result in a sentencing enhancement if

proved by a preponderance of thc cvidence."), United States v. Dozier, 162

F.3d 120, 125 (D.C. Cir 1998) (“Accordingly, ajury’s verdict of acquittal does

not prevent the sentencing court from considering conduct underlying the `

acquitted charge, so long as that conduct has been proved by a preponderance

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of the evidence.”) (internal quotations omitted); United States v. Berrios, 132
F 3d 834, 839 (lst Cir l998)(holding1ikewise).

As a result, insofar as Defendant argues that thejury’s failure to convict

him of the receipt of corrupt payments necessitates a like conclusion by this

Court at sentencing,

[t]his is wrong. The jury was asked to decide whether
there was proof of the defendant[’s] guilt beyond a
reasonable doubt, whereas the issue in sentencing is
whether the defendant[’s] guilt is shown by a
preponderance of the evidence, a lower standard, so
that the failure of the proof to satisfy the first standard
doesn’t show that it fails to satisfy the second.

United States v DiDomenico, 78 F.3d 294, 304 (7th Cir. 1996) (rejecting
argument that “in finding guilt where thejury did not thejudge usurped the

jury’s function”). A verdict of acquittal is not a finding of innocence “An

= acquittal by the jury proves only that the defendant was not guilty beyond a

reasonable doubt.” Magallanez, 408 F 3d at 684 And it is what the facts show

by a preponderance of the evidence, not beyond a reasonable doubt, that

" impacts a defendant’s sentence.

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Here, Defendant was acquitted of bribery and R.[CO violations-
violations that, if proven beyond a reasonable doubt, could have resulted in
years being added to Defendant's sentence. Instead, the Court’s finding that he
took corrupt payments from Mr. DeBardelaben suggests an increase in his
sentence of, at most, a few months. The material disparity between the

evidence necessary to sustain a conviction and that necessary to support a

l sentencing enhancement is reflected in the substantially different effects those

findings have on Defendant’s liberty
A preponderance of the evidence establishes that more than 810,000 of

the income Defendant failed to report in 1999 was acquired through his

criminal activities In light of the foregoing, the Court finds a two-level

' increase in Defendant`s offense level to be proper.

43 Sophisticated §;oncealmeiit

The Guidelines additionally provide that, “li]f sophisticated means were

' used to impede discovery of the existence or extent of the [tax] off`ense,” the

Court should increase the offense level by two |evels. U S. SENTENCING
GuiDELi\iEs MANUAL § 2Tl .l(b)(2) The Court finds that the evidence

supports this enhancement.

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The Guidelines attempt to clarify the concept of “sophis'ticated means”
by saying that such means “include[ ] conduct that is more complex or
demonstrates greater intricacy or planning than a routine tax-evasion case.”
U.S. Sentencii~io Guit)stixiss MAquL § 2Ti .i. “An enhancement would be
applied, for example,`where the defendant used offshore bank accounts, or
transactions through corporate shells or fictitious entities.” M; Mls_o _U_ni_t_eg
States v. Clements, 73 F.3d 1330, 1340 (5th Cir. 1996) (explaining that the

examples provided by the statute are only illustrative, not exhaustive). Further

; elucidating the contours of this somewhat elusive concept, the Circuit Courts of

Appeal have explained that “the essence of the definition [of sophisticated
concealment] is merely ‘deliberate steps taken to make the offense . . . difficult
to detect.“ United States v Kontny, 238 F.3d 815, 821 (7th Cir. 2001).

Here, several characteristics of the offense persuade the Court that the
requested enhancement is appropriate First, Defendant’s use of campaign
accounts and credit cards held by another individual to conceal personal cash
expenditures demonstrates a deliberate attempt to impede the discovery of both
the existence and extent of his tax fraud. What is more, his ubiquitous reliance

on cash to engage in all manner of financial transactions, from the most basic

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to the most substantial, reflects what can only be viewed in the aggregate as a
purposeful attempt to conceal the scope of his offense.
These attributes of Defendant’s conduct illustrate a level of complexity

that take his crimes well beyond the “routirie tax-evasion case.” Barakat, 130

 

F.3d at 1456. The Court finds an enhancement under § 2T1.1(b)(2]

l appropriate

 

l § Obstruction of Justii:e

The Governrnent seeks a two-level enhancement for obstruction of
justice. During the presentence investigation, the Government put Defendant
on notice that it intended to rely upon testimony from Gabe Pascarella to

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. establish that Defendant took documents related to the investigation from
! Pascarella’s home. Prior to the hearing, Defendant submitted an Affidavit in
response to the Government’s allegations In the Affidavit, Defendant states:
“I never requested or removed any documents from Gabe Pascarella at any
time. l never asked him if 1 could take any records from him. l never took any
j documents from him.” (Carnpbell Aff atjj 2). Before the Court took evidence

on this issue. the Government inquired as to whether the Court would consider

Defendant’s Affidavit in the event that Defendant did not testify and subject

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t himself to cross-examination at the hearing. Because a defendant is entitled to
allocution at a sentencing hearing; the Court stated that even if Defendant did
not testify at the hearing, the Affidavit would be considered However, the
parties were warned that Defendant`s failure to testify and submit himself to
cross-examination would go to the weight to be given to his Affidavit,
especially if Pascarella testified and subjected himself to cross-examinationl
Gabe Pascarella testified in the sentencing hearing that he was contacted
by federal agents in July 2000 to schedule an interview. Pascarella
immediately notified Defendant that he had been contactedl by federal agents
v about an interview The next day, ljefendant called Pascarella and asked to
meet with him. They met on Pascarella’s boat on Lake Lanier and talked about
the upcoming interview. Defendant gave Pascarella some background
information about the investigation During their discussion, a decision was
made that Pascarella would surreptitiously record the interview with the federal
agents Defendant initially provided a recorder, but it did not work. Therefore,
Pascarella recorded the interview with a recorder of his own. When Pascarella

and Defendant attempted to listen to the recording, they found that it was of

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very poor quality. Pascarella eventually prepared a transcript of the recording

: and provided copies of the transcript to Defendant and Defendant’s attorneys
After the interview, Pascarella called Defendant, and Defendant came to
: Pascarel|a’s home. Pascarella related to Defendant that during his interview,
he had been served with a subponea by the federal agents requiring him to
produce certain records relevant to the investigation Pascarella showed

Defendant the subpoena and told Defendant about the records that he had iri his

possession The records included credit card records from a dedicated credit
z card account from which Pascarella paid expenses of Defendant; written notes
on the credit card records that included the names of Defendant's friends for
whom the expenses were incurred; records of cashier’s checks used to pay the
credit card bills; and tally sheets for some of the poker games in which
Defendant had participated

Defendant requested that Pascarella give him all of the records.
Pascarella did not give Defendant all of the records but gave him some of the

records from all of the categories mentioned above. Defendant told Pascarella

 

not to worry about the records, and the two of them never discussed the records

i again. The records would have been evidence of cash expenditures by

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Defendant through Pascarella’s dedicated credit card account as well as of
poker winnings of Defendant

Pascarella has been interviewed by the Goveriiinent on numerous
occasions He also testified onat least two occasions before the Grand Jury
and at the trial of this case. However, Pascarella did not disclose the
information about the documents given to Defendant until an interview with

federal agents after the trial. Pascarella’s understanding was that the agents

wished to question him about the basis for his opinion that Defendant won as
much as 820,000 in poker games in any given year. During the interview,
Pascarella disclosed the fact that he had surreptitiously recorded his interview
. with the federal agents and also disclosed that he had given documents to
' Defendant

Defendant urges the Court to deny an obstruction of justice enhancement
because Pascarella’s testimony is not believa`ble. Defendant asserts that '
Pascarella had not been truthful in previous testimony to the Grand Jury and at
trial Also, Defendant points to Pascarel la’s failure to disclose the information

' in any prior statements or testimony.

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The Court finds credible Pascarella’s testimony presented at the
sentencing hearing that Defendant took documents material to the
investigation First, unlike Defendant, Pascarella’s testimony was subjected to
thorough and sifting cross-examination Second, the Court does not believe
that Pascarella’s failure to disclose the information earlier means that it is false.
Defendant’s acquisition of the documents occurred in the same meeting in
which Pascarella and Defendant were reviewing the surreptitious recording of
Pascarella’s interview with federal agents. Pascarella was concerned that his
recording may cause him problems with the Government. This concern
explains his failure to mention the recording in any prior interview or
testimony Even though Pascarella had never mentioned the recording, the fact
that it occurred appears to be undisputedl In fact, the recording is corroborated
by the transcript provided by Pascarella to Defendant and Defendant’s counsel.
. When Pascarella finally disclosed the recording, the inclusion of the transfer of
documents to Defendant would be a natural part of that disclosure

To be sure, the Court acknowledges that there are credibility issues with
portions of Pascarella’s testimony. Defendant makes a legitimate argument

that Pascarella has not been completely truthful under oath at other times in

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these proceedings 4 However, weighed against that testimony is the prepared,
sworn statement of Defendant. The Court must consider that Defendant has

; been found guilty by ajury of making false, sworn statements in tax returns

‘ filed with the federal government In weighing the relative credibility of the
witnesses, the Court finds that the testimony of Gabe Pascarella on this issue is
more credible than the Affidavit submitted by Defendant

Therefore, the Court finds a two-level enhancement for obstruction of
a justice appropriate under § 3C1.l of the Guidelines. This is precisely the sort

of conduct § 3C1.1 was designed to address U.S. SENTENcn\'o GUioi-:LiNEs

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l MANL`AL § 3C1.1 (stating that obstruction of justice includes “destroying or

l concealing or directing or procuring another person to destroy or conceal
5 evidence that is material to an official investigation orjudicial proceeding (e.g.,
shredding a document or destroying ledgers upon learning that an official

investigation has commenced or is about to commence}”).

§ Abuse of a Position of Trust and
Disruption of a Governmental Fuiiction

The Govemment urges the Court to impose a two-level enhancement

 

iAlso. during his testimony, Pascarella admitted tie had filed a tax return
understating his gambling winnings and that he failed to claim winnings in other years.

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based on an abuse of a position of trusi, U S SE\JTENCING GuioELrNEs
MANUAL § 2T3B l .3, or disruption of a governmental function, U.S.
SENTENCING Guqui.iNEs MANL'AL § 5K2.7 The Court declines to impose

either. First, the Court is unpersuaded that Defendant’s use of his position of

4 trust “facilitate[d] or contribute[d] in a significant way to the commission or

concealment of an offense.” S_eg Baral<at, 130 F.3d at 1454-55 (emphasis

supplied) To the contrary, the evidence relied on by the Govemment to
establish such abuse consists primarily of testimony that Defendant had his
assistants perform the ministerial task of relaying statements respecting his

income to Defendant’s accountant No signg‘i`canr facilitation or contribution

_ has been shown. ld_: Second, the evidence fails to persuade the Court that

Defendant’s malfeasance “resulted in a significant disruption of a
governmental function.” U S SENTENCING GuiDELiNEs MANUAL § 5K2.7

(emphasis supplied)

_ _’Z_. Publig Service

Defendant requests a downward departure based on his public service

The Court finds that such a departure would be improper.

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Case 1:

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l The Guidelines make clear that public service is “not ordinarily relevant
in determining whether a sentence should be outside the applicable guideline
range.” U.S. SENTENCING GL:iDELiNEs MANUAL § SHI .1 1. While Defendant

" undeniably used his position as Mayor of the City of Atlanta to do good in the

' community, the Court does not find that his good works are so extraordinary as

to take them beyond the “the political duties ordinarily performed by public

servants[.]" §e_e United States v Serafini, 233 F.`3d 258, 723 (3d Cir 2000).

 

What is more, the Court is unwilling to consider Defendant’s good works in
' isolation, divorced from the rampant corruption that plagued his

administration 5 B United States v. Wright, 363 F.3d 23 7, 250 (3d Cir. 2004)

 

5 Four members of Defendant’s administration pled guilty to charges including
corrupt payments, perjury, and tax fraud (Joe Reid - Executive Director of Empowerment
Zones. Lariy Wal|ace - ChiefOperating Ofiicer. Fred Prewitt - Head of Civil Service
Board. and Thodur Bavan - Operations Manager f`or Water System). One member ofthe
Administration was found guilty ofpei]ury and obstruction (Herb McCall - Director of
l Administrative Services) Two members of Defendant’s administration have admitted
i corrupt activities but have never been prosecuted because of deals with the Govemment
(Michael Sullivan - Director ofOf`fice of Contract Comp|iance, Dewey Clark- Personal
Assistant to the Mayor) There was substantial evidence about corrupt activities of an
additional member of the Administration who has not been prosecuted (Deway ne Martin -
Chief`Operating Ot`ficer) Five businessmen pled guilty to their involvement in corrupt
activities with the City during De fendant`s administration (Vertls McManus. Sam Barber,
|' Michael Childs, George Greene, and Ronnie Thornton) Ari additional businessman
' admitted paying bribes to Defendant but was never charged because of a deal with the
l Govemment (Dan DeBardelaben)

 

 

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' “As we understand the basis for the District Court’s decision, the Court held

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_ that1 the defendant’s net charitable and civic contributions-taking into account

both the good and bad that he did in his capacity as a member of the
clergy*cannot be considered as so extraordinarin positive as to warrant a
downward departure. We agree with this analysis . . .”). Viewed as a whole, -
Defendant`s actions during his tenure as Mayor fall short of the extraordinary
f public service necessary to justify a departure from the guideline range. The
Court declines to downwardly depart based on Defendant’s good works.
§ guidelines Findings

in light of the foregoing, the total offense level applicable to this case is
nineteen ( 19)

CONSIDERATIONS UNDER 18 U.§.C. § 3553(a}

After the Court determined the applicable guideline range, the Court

heard argument from counsel concerning the application of factors under 18

U.S.C. § 3553.6 The Court considered all ofthe factors under § 3353 but

 

 

6 The factors under 18 U S C § 3553(a) include the following

(l) The nature and circumstances of the offense and the history and
characteristics of the Defendant,

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discusses below those factors of particular importancel
Based upon a consideration of the § 3553 factors, the Court concludes
that a thirty (30) month sentence is appropriate in this case. Prom the day the

jury found Defendant guilty of the income tax charges, he has sought to

_ minimize his crimes. After publicly proclaiming during the trial that he had as

much as $20,000 per year in poker winnings, Defendant declared on the day
that the verdict was rendered, “But, if you look at the tax charges, they all
involve fairly minor speech income which we actually provided the

information for when l filed my disclosure statements.” tSee Gov’t Sentencing

 

(2) The need for the sentence imposed - (A) to reflect the
seriousness of the offensc, to promote respect for the law, and to provide
just punishment for the offense; (B) to afford adequate deterrence to_
criminal conduct, (C) to protect the public from further crimes of the
Defendant. and (D) to provide the Defendant with needed educational or
vocational training, medical care. or other correctional treatment in the
most effective manner:

(3) The kinds of sentences available; .

L6) The need to avoid unwarranted sentence disparities among
defendants with similar records who have been found'guilry of similar
conduct, and

(7) The need to provide restitution to any victims of the offense

18 U S C § 3553(a) _S_eg United States v Thomas, 446 F 3d 1348, 1356 (l lth Cir
2006) -

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Mem. [3 62] at Ex A.) He also stated, “But, the charges really are about my
speech income that was not reported.” (ld) Defendant also sought to
minimize his culpability for the criines. For example, Defendant has stated, “I
think we said from the very outset that l had a fairly poor recordkeeping in
§ terms of my speeches.” (I_d.) thn asked what he would do differently,
Defendant responded, “I’d have an accountant that would probably pay more
attention to the manner in which I was preparing and filing my income taxes.

Look, it is very difficult as Mayor, as a father, as a husband, making certain

 

: that you do all the things that are required, trying to keep track of all the
f paperwork. lt is just an oversight. And, l think you heard testimony that was
unrefuted that I was a sloppy recordkeeper, and so there is no doubt about that
and, of course, I’ll have to deal with that issue as we go forward.” (I_d.)

The evidence in the case is contrary to Defendant's description of his
crime While it is true that some of Defendant’s unreported income came from
unreported speeches, the bulk of the income came from gambling and/or
corrupt payments An appropriate sentence is required to reflect the

seriousness of Defendant’s failure to report such income

 

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(Rev BIBZ)

 

 

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The sentence imposed in the case is also important to serve as a deterrent
to criminal conduct. Public officials must understand that they are
not excused from compliance with the law. Defendant is not entitled to be
excused from this criminal conduct because of his position as a public official

Additionally, the Court is cognizant of sentences imposed upon other
defendants who were prosecuted as a part of this same investigation The
Court considered the crimes for which those sentences were imposed as well as
other relevant circumstances, such as whether the defendant plead guilty or
went to trial, whether the defendant accepted responsibility for his criminal
conduct, and whether the defendant agreed to assist the Govemment in its
corruption investigation The Court also considered sentences that are
generally imposed for tax offenses

lvlany of the factors that were considered in the Court’s review of the
Sentencing Guidelines enter into its analysis under § 3553 as a part of the
nature and circumstances of the offense. Particularly, the fact that substantial
amounts of unreported income arose from criminal activities influences the

sentence Further, the fact that Defendant sought to obstruct the investigation

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AO 72A
(Rev Bi82)

 

 

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of his criminal activities influences the Court’s determination of an appropriate
sentence in this case.,

The Court has treated the Sentencing Guidelines as advisory in nature.
Considering the guidelines and the factors under § 355 3, the Court concludes
that a sentence of thirty (30) months in the custody of the Bureau of Prisons
followed by one ( l) year of supervised release, on each count, to be served
concurrently, a fine in the amount of $6,000, and a $3(]0 special assessment is
appropriate in this case.

50 oRr)EREi) this AMday ofiane, 2006.

RICHARD . STO Y
UNITED S'I`ATES DISTRICT .lUDGE

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APPENDIX A

Calculations of Net Cash Expenditures'

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Descriptiori 1996 1992 1998 1999
Casli Espenditures 55.044 50 513,752 68 519_560 73 323.292 90
Gov`t E\liibii 1141
Charitable Contribiitions 54,195 00 S 4.750 00 5 4.775 00 S 4.500 00
The Chrldren`s School 5 100 00 5 1,500 00
Marioii Brooks` Ciift (Tria| 5 800 00
Flestiiiion;»~'l
M.ic & Jac Diy Cleaning 5 356 30
SUB-TOTAL $9,239 50 318,602.68 528,835 73 529,039 20
Less Sources of C ash 58.539 43 5 1 .oOB 49 S 1.9?4 83 S 69 00
(Gov`t Exli 1155)
l_ess Dewey Clark Rerital 53.600 00 5 2.100 00 5 600 00 5 1.500 00
Less Sliaron Criiiipbell`s 51.385 42 5 1,58”ir 20 5 l,124 90 $ 1290 80
Reimbursement Checks
NET cAsH s 001 513,306 49 522,136 00 szs,i'ia 40
EXPENDITURES

 

 

’ The foimai for the calculations ofNet C ash Expenditiires and T oral Unreported lncoiiie

are taken from pages 26 and 27 of the PSI

3 The expenditures in the chart are not all of Defendanr's cash expenditures Theiefoie.

iii 19*)6, when the sources of cash exceed the iii'ennyied expend itures. the C ourt simply attributes

no net cash espenditures to Defendant for that year

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